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                ,              Wyoming       Secretary of State                           For Office Use Only
              iy            Herschler Bldg East, Ste.100 & 101     WY Secretary of State
                                                                    FILED: Mar 6 2023 8:48AM
                                 Cheyenne, WY 82002-0020            Original ID: 2023-001233092
Secretary of State                    Ph. 307-777-7311



                                                    Profit Corporation
                                               Articles of Incorporation

         The name of the profit corporation is:
         Gray Matter Advisors Inc.


         The name and physical address of the registered agent of the profit corporation is:
         Registered Agents Inc
         30 N Gould St Ste R
         Sheridan, WY 82801

         The mailing address of the profit corporation is:
         30 N Gould St Ste R
         Sheridan, WY 82801

 IV.     The principal office address of the profit corporation is:
         30 N Gould St Ste R
         Sheridan, WY 82801

 V.      The number, par value, and class of shares the profit corporation will have the authority to issue are:
         Number of Common      Shares:   10,000,000               Common    Par Value:       $0.0001
         Number of Preferred Shares:     0                        Preferred Par Value:       $0.0000


 Vi.     The name and address of each incorporator is as follows:
         Registered Agents Inc
         30 N Gould St Ste R Sheridan, WY 82801




Signature:              Robin Jones                                                      Date:   03/06/2023

Print Name:             Robin Jones

Title:                  Authorized Individual

Email:                  reports@registeredagentsinc.com

Daytime Phone #:        (307) 200-2803




                                                                                                                Page 1 of 4
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                  ,                                                                            Wyoming Secretary of State
                iy                                                                       Herschler Bldg East, Ste.100 & 101

                      .                                                                          Cheyenne, WY 82002-0020
 Secretary of State                                                                                        Ph. 307-777-7311



     | am the person whose signature appears on the filing; that | am authorized to file these documents on behalf of the
     business entity to which they pertain; and that the information | am submitting is true and correct to the best of my
     knowledge.

     | am filing in accordance with the provisions of the Wyoming Business Corporation Act, (W.S. 17-16-101 through 17-
     16-1804) and Registered Offices and Agents Act (W.S. 17-28-101 through 17-28-111).
     | understand that the information submitted electronically by me will be used to generate Articles of Incorporation that
     will be filed with the Wyoming Secretary of State.
     l intend and agree that the electronic submission of the information set forth herein constitutes my signature for this
     filing.
     | have conducted the appropriate name searches to ensure compliance with W.S. 17-16-401.

     | affirm, under penalty of perjury, that | have received actual, express permission from each of the following
     incorporators to add them to this business filing: Registered Agents Inc

     | consent on behalf of the business entity to accept electronic service of process at the email address provided with
     Article IV, Principal Office Address, under the circumstances specified in W.S. 17-28-104(e).

                Notice Regarding False Filings: Filing a false document could result in criminal penalty and
                                           prosecution pursuant to W.S. 6-5-308.


          WSS. 6-5-308. Penalty for filing false document.

          (a) A person commits a felony punishable by imprisonment for not more than two (2) years, a fine
          of not more than two thousand dollars ($2,000.00), or both, if he files with the secretary of state
          and willfully or knowingly:

          (i) Falsifies, conceals or covers up by any trick, scheme or device a material fact;

          (ii) Makes any materially false, fictitious or fraudulent statement or representation; or

          (iii) Makes or uses any false writing or document knowing the same to contain any materially
          false, fictitious or fraudulent statement or entry.

    | acknowledge having read W.S. 6-5-308.

Fileris:       — (_] An Individual          An Organization
The Wyoming Secretary of State requires a natural person to sign on behalf of a business entity acting as an
incorporator, organizer, or partner. The following individual is signing on behalf of all Organizers, Incorporators, or
Partners.
Filer Information:
By submitting this form | agree and accept this electronic filing as legal submission of my Articles of
Incorporation.
 Signature:                Robin Jones                                               Date:   03/06/2023
 Print Name:               Robin Jones
Title:                    Authorized Individual

 Email:                    reports@registeredagentsinc.com

 Daytime Phone #:          (307) 200-2803

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                                                                              Wyoming Secretary of State
                                                                        Herschler Bldg East, Ste.100 & 101

                                                                                Cheyenne, WY 82002-0020
 Secretary of State                                                                      Ph. 307-777-7311




                          Consent to Appointment by Registered Agent


         Registered Agents Inc, whose registered office is located at 30 N Gould St Ste R,
Sheridan, WY 82801, voluntarily consented to serve as the registered agent for Gray Matter
Advisors Inc. and has certified they are in compliance with the requirements of W.S. 17-28-101
through W.S. 17-28-111.

        | have obtained a signed and dated statement by the registered agent in which they
voluntarily consent to appointment for this entity.



Signature:            Robin Jones                                   Date:   03/06/2023

Print Name:           Robin Jones

Title:                Authorized    Individual

Email:                reports@registeredagentsinc.com

Daytime Phone #:      (307) 200-2803




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                                       STATE OF WYOMING
                                   Office of the Secretary of State


       ], CHUCK GRAY, Secretary of State of the State of Wyoming, do hereby certify that the filing
requirements for the issuance of this certificate have been fulfilled.




                                   CERTIFICATE OF INCORPORATION

                                       Gray Matter Advisors Inc.


         | have affixed hereto the Great Seal of the State of Wyoming and duly executed this official
certificate at Cheyenne, Wyoming on this 6th day of March, 2023 at 8:48 AM.




       NL                              Remainder intentionally left blank.




                                                           (eJtFoy  Secretary of State

                                                                       Filed Online By:

                                                                        Robin Jones
          Filed Date: 03/06/2023
                                                                        on 03/06/2023




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